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   8                         UNITED STATES DISTRICT COURT
   9                      SOUTHERN DISTRICT OF CALIFORNIA
  10

  11    DOMINIC FONTALVO, a minor, by            Case No.: 3:13-cv-00331-GPC-KSC
        and through his Guardian Ad Litem,
  12    TASHINA AMADOR, individually
        and as successor in interest to Alexis   Judge: Hon. Gonzalo P. Curiel
  13    Fontalvo, deceased, and
        TANIKA LONG, a minor, by and
  14    through her Guardian Ad Litem,
        TASHINA AMADOR,
  15                                             PLAINTIFFS’ MEMORANDUM OF
                                                 POINTS AND AUTHORITIES IN
  16                       Plaintiff,            OPPOSITION TO SIKORSKY’S
                                                 MOTION FOR SUMMARY
  17          vs.                                JUDGMENT
  18
        SIKORSKY AIRCRAFT
  19    CORPORATION;
        SIKORSKY SUPPORT SERVICES,
  20    INC.; UNITED TECHNOLOGIES
        CORPORATION;
  21    G.E. AVIATION SYSTEMS, LLC;
        DUPONT AEROSPACE CO.;
  22    E.I. DUPONT DE NEMOURS AND
        COMPANY;
  23    PKL SERVICES, INC.; and
        DOES 1 through 100, Inclusive,
  24
                     Defendants.
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   1                                    INTRODUCTION
                                     The Amber “Red Herring”
   2

   3           Sikorsky’s Motion for Summary Judgment is devoted entirely to batting at a
   4    straw argument. The Motion amounts to: “Plaintiffs can’t hold us liable for using
   5    Kapton, because the military made us use Kapton.” The problem with this argument,
   6    however, is that plaintiffs’ actual theories of liability have nothing to do with Kapton.
   7    As all of plaintiffs’ experts’ reports and depositions have made clear, they intend to
   8    prove at trial that Kapton has been ruled out as a contributing factor to the fatal
   9    mishap. Instead, the mishap was caused by defective configuration and faulty
  10    installation of the landing gear wiring harness, which caused a short at a section of
  11    wire that wasn’t Kapton at all, but was instead an alternative type of wire known as
  12    “Spec-55” that contains no Kapton. Discovery has further revealed that the U.S.
  13    Military played absolutely no role in designing the defective features in the wiring
  14    harness that contributed to this accident, and Sikorsky’s Motion provides no
  15    evidence suggesting any such involvement. At most, Sikorsky’s evidence on this
  16    Motion creates a triable issue of fact as to whether Kapton played a role in the
  17    mishap, and therefore under firm Supreme Court and Ninth Circuit case law, it is up
  18    to a jury to decide whether Kapton, and not the defective design of the wiring
  19    harness, was in fact a contributing factor, and whether Sikorsky is therefore immune
  20    from liability to some extent.
  21           Kapton insulation is easily distinguishable from other wire (even to the lay,
  22    naked eye) due to its distinctive, translucent amber color, which is differentiated
  23    from its yellow-grey outer sheathing.1        Spec-55 wire, on the other hand, is
  24    colloquially known as “white wire,” due to the uniform milky-white appearance of
  25
        1
          A series of microscopic photographs illustratively depicting both the amber
  26
        appearance of the inner Kapton insulation and the milky appearance of Spec-55 is
  27    included in Appendix M to the Expert Report of Joseph Reynolds, filed herewith
        as Exhibit N to the Declaration of Marshall Shepardson. See pages 130–132 for
  28
        white Spec-55 and 133–142 for amber Kapton.
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   1    the insulation and the outer sheath. Although it is true that Kapton happens to have
   2    a long and storied history of contributing to mishaps, and it is also true the
   3    government knew about that history when it ordered the aircraft in question, none of
   4    that has any bearing on this case. In this case, the fateful electrical short occurred
   5    on readily identifiable Spec-55 wire, as all the available photographic, microscopic
   6    and testimonial evidence amply shows. Sikorsky’s “Kapton Defense” attempts to
   7    pin the blame on the “usual suspect,” because their entire immunity defense hinges
   8    on the amber wire being the sole culprit in this tragedy. However, Kapton in this
   9    case is just an amber herring.
  10          Therefore, the Motion should be denied.
  11                                  FACTUAL SUMMARY
  12          The facts are laid out in the accompanying Plaintiffs’ Statement of Additional
  13    Facts (“PSOF”). There is no dispute that plaintiffs’ decedent Staff Sergeant Alexis
  14    Fontalvo was killed when an electrical short caused an inadvertent retraction of the
  15    landing gear while the Sikorsky-made helicopter was on the tarmac, and SSgt.
  16    Fontalvo was under the helicopter. Crucially, plaintiffs’ reconstruction experts have
  17    rigorously determined that the fatal short occurred at Spec-55 wire, and not at
  18    Kapton wire. (PSOF Nos. 39–48.) The culpable Spec-55 “white wire” is plainly
  19    depicted in photographs taken in the mishap’s aftermath. (Shepardson Decl., Ex. I.)
  20          The central fallacy of Sikorsky’s alternative theory, in which Kapton is to
  21    blame, is evident in their constant repetition of the falsehood that “Military
  22    investigators found” that Kapton was the suspected cause of the mishap (for
  23    instance, in their Memo., p. 3, Sec. II.C., and their Statement of Facts Nos. 10 & 11).
  24    This statement is outright false. The only “source” of the (convenient) suspicion of
  25    Kapton was Sikorsky’s own internal Materials Engineering investigation, conducted
  26    by Sikorsky’s employee Manning Stelzer.            (PSOF No. 60.)        The military
  27    investigators, in fact, expressly declined to attribute the cause to any particular site
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                                                      2
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   1    or type of wire. (PSOF No 38.) Nonetheless, and fatally for Sikorsky, the Marine
   2    avionics troubleshooters ruled out any damaged Kapton wire in the wiring harness
   3    that could have served as an entry point for the stray voltage. (PSOF No. 40.) Even
   4    Mr. Stelzer conceded that the Kapton part of the wire was in remarkably pristine
   5    condition, with no telltale radial cracking suggestive of “Kapton degradation” that
   6    is found in cases of genuine Kapton flashover or arc tracking. (PSOF No. 47.)
   7            Rather than some mythic “Kapton degradation,” the experts in this case have
   8    determined that the short occurred due to the defective design and installation of
   9    the landing gear wiring harness—and in particular the Spec-55 wire “pigtails”
  10    connected to the Hydraulic Utility Module (“UM”). (PSOF Nos. 34–37.) This
  11    means that Sikorsky’s immunity defense is a non-starter, since it is entirely grounded
  12    on the specious conceit that Kapton is the culprit. There are no facts to support any
  13    theory that Sikorsky is immune for the defective configuration of the wiring harness
  14    and UM, because the government never weighed in on that component in any
  15    discretionary way.
  16                                        ARGUMENT
  17    I.      SIKORSKY CANNOT PROVE ITS “MILITARY CONTRACTOR
                IMMUNITY” AFFIRMATIVE DEFENSE AS A MATTER OF LAW
  18
                BECAUSE IT DEPENDS ON DISPUTES OF MATERIAL FACT
  19            BEING DECIDED IN SIKORSKY’S FAVOR.
  20            As Sikorsky concedes, summary judgment can only be granted where there is
  21    no genuine dispute as to any material fact bearing on the Sikorsky’s affirmative
  22    defense, on which Sikorsky bears the burden of proof. F.R.C.P. 56(a). Sikorsky
  23    relies on the affirmative “military contractor defense,” which originated in the
  24    Supreme Court case Boyle v. United Technologies, 487 U.S. 500 (1988). Writing
  25    for the majority in Boyle, Justice Scalia specifically explained that “whether the facts
  26    establish the conditions for the defense is a question for the jury” and that it “would
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   1    be error” for the Court of Appeals to “assess on its own whether the defense had
   2    been established.” Id. at 514 (emphasis added).
   3          Here, there is an overwhelming preponderance of evidence that would allow
   4    any reasonable jury to reject Sikorsky’s affirmative defense. Stated most generally,
   5    there are two key disputes, both of which would have to be resolved in Sikorsky’s
   6    favor in order for them to prevail, and each of which would turn on the resolution of
   7    numerous sub-disputes. Sikorsky would need to prove: 1.) that the fatal short
   8    occurred between two segments of Kapton-insulated wire; and 2.) that the offending
   9    wire was damaged as a result of characteristic chemical decomposition of the Kapton
  10    insulation, which is a defect inherent to that type of insulation, rather than being
  11    damaged as a result of the faulty design and installation of the wiring harness. Both
  12    of these contentions are hotly disputed by the plaintiffs, based on competent physical
  13    evidence and expert testimony. Therefore, the Motion should be denied based on
  14    that contest alone. But plaintiffs will go further to show not only the dispute, but the
  15    overwhelming volume of evidence in plaintiffs’ favor, and the blatant implausibility
  16    of Sikorsky’s theory.
  17          In brief, as to (1.) above, all reliable evidence points strongly (even
  18    ineluctably) to the site of the fatal short being on Spec-55 wire, because the only
  19    wire that showed any scientifically verifiable damage was Spec-55, while the Kapton
  20    wire was expressly found (by all disinterested investigators) to be undamaged.
  21    (PSOF Nos. 38–48.) Not only is the damaged, suspect Spec-55 site evident and
  22    scientifically verified, but it is conspicuous and discernible to the lay, naked eye.
  23    (Shepardson Decl., Exs. I (USMC Bare Wire Photos) & J (inspection photos).) As
  24    to (2.) above, Sikorsky has not brought forth any evidence whatsoever in support of
  25    its motion that any Kapton wire was damaged or denuded due to any chemical
  26    deteriorative process, the risk of which is a known, inherent propensity of Kapton.
  27    In fact, the internal Sikorsky Materials Engineering Report on which Sikorsky relies
  28
                                                      4
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   1    specifically remarks on the surprising, pristine integrity of the Kapton wire in the
   2    helicopter’s landing gear wiring harness. (PSOF No. 47.) Sikorsky’s only mishap-
   3    reconstruction expert moreover admits he did no analysis looking for the telltale
   4    byproducts of any such chemical degradation, and that such an analysis is beyond
   5    his expertise. (PSOF Nos. 49 & 50.)
   6           Therefore, even assuming that Sikorsky could be immune to some limited
   7    degree, to the extent the known danger of “Kapton degradation” played a role in the
   8    mishap, they have not produced any evidence competent to establish that limited
   9    degree of immunity. In other words, even if the short had occurred on Kapton wire
  10    (for which there is no evidence), Sikorsky still cannot establish that the Kapton was
  11    damaged due to its inherent properties, as opposed to the same design and
  12    manufacturing defects that caused the fatal damage to the Spec-55 wire.
  13           Plaintiffs’ experts, meanwhile, have provided a thorough, satisfactory account
  14    of the manner in which the wire damage occurred to the Spec-55 wire, and it has
  15    nothing to do with the chemical composition (or decomposition) of the wire.
  16    Instead, the damage occurred due to the defective configuration of the wiring
  17    harness, as well as the defective installation of the entire system by Sikorsky. (PSOF
  18    Nos. 19–24.) These defects led to mechanical chafing, which would have occurred
  19    no matter what the insulation was made of. 2 (PSOF Nos. 45, 48 & 61.) The chafing
  20    damage to the Spec-55 wire demonstrably occurred because the harness was
  21    defectively designed and shoddily installed. (PSOF Nos. 21 & 36.) Sikorsky alone
  22    is responsible for both the design defects and the manufacturing defects that
  23
        2
         Sikorsky ventures in a footnote that “[t]o the extent Plaintiffs attempt to blame the
  24
        Spec 55 wiring…Spec 55 was also expressly mandated by Navy specifications,
  25    and thus likewise [immune].” (Memo. Supp. Motion, p. 12, fn. 4.) This
        demonstrates Sikorsky’s stubborn, willful, fundamental misunderstanding of
  26
        plaintiffs’ theory of defect. Plaintiffs are not “blaming” Spec-55, or any type of
  27    wire for that matter. Plaintiffs are blaming the defective design and manufacture
        of the wiring harness, which would have permitted this fatality regardless of the
  28
        type of wire used.
                                                     5
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   1    contributed to the mishap. (PSOF Nos. 3, 9–14.) The government never issued any
   2    specifications for how the (defectively-designed and manufactured) landing gear
   3    wiring harness would be configured; in fact, Sikorsky doesn’t have any evidence
   4    that the government ever even gave a “rubber stamp” to the design. (PSOF Nos.
   5    17 & 18.) Therefore, Sikorsky has no immunity for that defective configuration
   6    under the controlling case law, as explained in Sections II through IV, below.
   7          The only entity that has ever blamed Kapton for this mishap was Sikorsky.
   8    (PSOF No. 60.) The Navy investigators simply considered that finding by Sikorsky
   9    during their investigations, but did not independent analysis or verification of the
  10    claims. In fact, the Final Report of the Engineering Investigations division of
  11    NAVAIR expressly found only that the site of the short could have been Kapton or
  12    spec-55 depending on the location, but stopped short of determining the precise
  13    location. (PSOF No. 38.)
  14          In the end, even putting aside the manifest implausibility of Sikorsky’s
  15    “theory,” the Motion should be denied in light of the mere presence of these key,
  16    material disputes. See, e.g., Wilkins v. City of Oakland, 350 F.3d 949, 956 (9th Cir.
  17    2003)(“Where the [defendants’] entitlement to qualified immunity depends on the
  18    resolution of disputed issues of fact in their favor, and against the non-moving party,
  19    summary judgment is not appropriate.”) Because of the titanic material disputes in
  20    this case, Sikorsky cannot prove any of the necessary prongs of the asserted “military
  21    contractor defense” as a matter of law, under the controlling, seminal Supreme Court
  22    and Ninth Circuit cases.
  23    II.   SIKORSKY CANNOT MEET THE FIRST PRONG OF BOYLE
              UNDER THE STANDARD ENUNCIATED BY THE NINTH CIRCUIT
  24
              IN SNELL V. BELL, BECAUSE THE NAVY NEVER WIEGHED IN ON
  25          THE CONFIGURATION OF THE LANDING GEAR WIRING
  26
              HARNESS AT ALL.

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   1          A.     This Case is Precisely Analogous to Snell, and its Fifth-Circuit
                     Predecessor Trevino, Because the Government Never Deliberated
   2
                     on the Defective Wiring Harness Faulted by Plaintiffs.
   3

   4          It is outrageous, yet hardly surprising, that the Motion pretends the case Snell
   5    v. Bell Helicopter, 107 F3d 744 (9th Cir. 1997), does not exist. This glaring omission
   6    is outrageous because Snell is the quintessential “military contractor defense” case
   7    that controls all cases within the Ninth Circuit where that defense is raised. Yet
   8    Sikorsky fails to mention or cite that case a single time in its papers ostensibly
   9    supporting its Motion. (See, Memo. in Supp. Motion, p. iii (Table of Authorities)).
  10    This deliberate neglect on Sikorsky’s part is unsurprising, however, because Snell’s
  11    holding obliterates Sikorsky’s entire Motion.
  12          Sikorsky inaccurately argues, “Undisputed evidence shows that Sikorsky
  13    meets Boyle’s first condition—that the government approved reasonably precise
  14    specifications.” (Memo. Supp. Motion, p. 11:13–14.) This assertion, however, is
  15    not only disputed but is entirely without basis under the longstanding interpretation
  16    of that prong by the Ninth Circuit Court of Appeals. The Ninth Circuit has long held
  17    that the military contractor defense is only available where “the design feature in
  18    question was considered by a Government officer, and not merely by the contractor
  19    itself.” Snell, 107 F3d at 746 (citing Boyle, supra, 487 U.S. at 511–12). This means
  20    military contractors may not be held liable for features that the government
  21    demanded, but the manufacturer is on the hook for any design defect not attributable
  22    to a governmental demand. Here, there is not a single scrap of evidence suggesting
  23    that any Navy officer ever considered the configuration of the landing gear wiring
  24    harness in any way, meaning Sikorsky cannot meet the first prong of Boyle under
  25    Snell, and cannot avail itself of contractor immunity—let alone as a matter of law.
  26    See Boyle, 487 U.S. at 514 (“[W]hether the facts establish the conditions for the
  27    defense is a question for the jury.”)
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                                                     7
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   1           In Snell, the plaintiffs brought wrongful death claims after a helicopter crash
   2    due to failure of the aircraft’s faulty main drive shaft. Plaintiffs’ theory was that the
   3    vibration-isolating mounts did not support the drive shaft in proper alignment, which
   4    permitted friction to burn off the lubricant and overheat the system. Snell, 107 F.3d
   5    at 747. The District Court for the Southern District of California granted summary
   6    judgment to defendant Bell on the military contractor defense. The Ninth Circuit
   7    reversed the district court, holding that the “evidence does not establish as a matter
   8    of law that the government exercised its discretion with respect to the drive shaft and
   9    its components” because “there were no discussions with the government about the
  10    design of the critical isolation mounts.” Id. at 748. Therefore, military contractor
  11    immunity was unavailable to the extent that “the government did not exercise
  12    judgment with respect to the design feature in question….” Id. (Emphasis added.)
  13           The Snell defendant, Bell, just like Sikorsky here, had the burden of
  14    establishing the affirmative defense it was advancing, as a matter of law. Id. at 746.
  15    Also, like Sikorsky here, Bell mustered a record establishing “that the government
  16    was significantly involved in and approved specifications for the design of the entire
  17    helicopter,” with the District Judge remarking even that the “government was
  18    significantly involved in and approved very precise specifications for the UH–1N
  19    helicopter.” Id. at 747. Nonetheless, the Court of Appeals held that insufficient
  20    because the record lacked an undisputed showing that the government specifically
  21    considered the isolation mounts that the plaintiffs blamed for the mishap. Id.3
  22           Here, neither Sikorsky nor the government has produced any documents in
  23    any way seeming to suggest that the “design feature in question,” the landing gear
  24    wiring harness, was ever considered by any government officer. In fact, Sikorsky’s
  25
        3
         The Ninth Circuit expressly distinguished Snell from Butler v. Ingalls
  26
        Shipbuilding, Inc., which is cited by Sikorsky here, because in Butler the Navy
  27    specifically furnished specifications as to not just the accommodation ladders
        overall, but for the allegedly defective “padeye and link in particular.” 89 F.3d
  28
        582, 585 (9th Cir. 1996).
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   1    own expert admitted there is no such evidence. (PSOF Nos. 7–14, 17 & 18.)
   2    Plaintiff’s criticisms of Sikorsky are that the wiring harness was improperly
   3    configured so that the up-command control wire was plugged into the utility
   4    hydraulic module immediately below the plug for the down-command control wire,
   5    all downstream of any effective safety interlock, and without proper support, strain
   6    relief, slack or anti-chafing, which permitted the wires to rub and chafe together until
   7    they shorted. (PSOF Nos. 21, 23, 24, 35 & 36.) There is no evidence that any of
   8    these conditions was ever demanded, specified, deliberated on or considered in any
   9    way by the Navy. (PSOF Nos. 17 & 18; Lawrence Decl. paras. 9 & 12.)
  10          In fact, in Snell the Detail Specification for the UH-1N was far more
  11    substantive regarding the at-issue assembly (the drive shaft) than is the CH-53E
  12    specification regarding the landing gear control system. The UH-1N specification
  13    provided: “The transmission shall be mounted on a suitable vibration isolator. A lift
  14    link shall be attached to the structure to carry rotor thrust loads. …A transmission
  15    input drive installation shall be provided. This installation shall consist of a shaft
  16    assembly to carry rotor thrust loads.” Snell, 107 F.3d at 748. Nonetheless, the Ninth
  17    Circuit held that “the Detail Specification for the helicopter left the design and
  18    placement of the drive shaft and its components to Bell [and therefore] would not
  19    support application of the defense as a matter of law.” Id.
  20          Here, the government essentially specified nothing at all regarding the landing
  21    gear controls, leaving all discretion as to its implementation up to Sikorsky. The
  22    only mentions of landing gear control in the Detail Specification are as follows:
  23          3.8.2.5 RETRACTING, EXTENDING AND LOCKING - Applicable.
  24          3.8.2.5.1 RETRACTION - Applicable.
  25          3.8.2.5.2 EXTENSION - Applicable. The alighting gear shall be extended
              in not more than 15 seconds up to 140 knots in normal operation.
  26

  27    (Wakefield Decl., Ex. 10 (Detail Specification SD-552-3-9), pp. 50–51.) This
  28    amounts to only the most basic and generic performance requirement, with
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   1    absolutely no mandates regarding the features that gave rise to the accident: the
   2    vertical, immediate juxtaposition of plugs “P494” and “P495,” and the lack of a
   3    safety interlock to prevent a short between those two wire paths. The government
   4    was never provided any description or depiction of the landing gear wiring harness,
   5    the hydraulic utility module, or the landing gear interlock system. (Lawrence Decl.,
   6    paras. 6, 9 & 13.) Therefore, under Snell, Sikorsky cannot approach demonstrating
   7    the governmental discretion required for its immunity defense.
   8          The Snell court was really itself only repeating and applying the well-
   9    established rule that determines the availability of immunity to a military contractor,
  10    citing to an earlier 5th Circuit case Trevino v. General Dynamics Corp., 865 F.2d
  11    1474, 1480 (5th Cir. 1989), cert. denied, 493 U.S. 935 (1989)). In Trevino, which
  12    formulated the “rubber stamp” rule applied by Snell, the court rejected a defendant’s
  13    government contractor defense even though the Navy had demonstrably approved
  14    the design specifications for the installation of a diving hangar on a submarine,
  15    because the design and installation of the features at issue had been left up to the
  16    contractor’s discretion. 865 F.2d at 1480.
  17          Here, the government’s lack of involvement in the CH-53E’s landing gear
  18    wiring harness is precisely analogous to Snell’s isolation mounts and Trevino’s
  19    diving hangar. The government had nothing to do with any of them. Sikorsky cannot
  20    avail itself of the defense because it has not produced a hint of substantiation that
  21    the military participated in the design of the wiring harness at issue in particular.
  22    (Lawrence Decl., para. 6.)
  23
              B.     Each of Sikorsky’s Cases Explicitly Involved an Allegedly Defective
  24                 Design Which Significantly Implicated Express Governmental
  25                 Decision-Making.
  26          Given the complete absence of evidence of military involvement in the design
  27    of the CH-53E’s landing gear wiring harness, this case is materially distinct from all
  28
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   1    the cases where the “military contractor immunity” defense has been established.
   2    The most illustrative example of this distinction is the Ninth Circuit case Sikorsky
   3    does bother to cite, Getz v. Boeing Co., 654 F.3d 852 (9th Cir. 2011). In that case,
   4    which involved a Chinook helicopter mishap, the plaintiffs criticized the Honeywell-
   5    made ignition system for its lack of “a continuous relight function, which would
   6    have allowed the engine to restart automatically in the event of a water-induced
   7    flameout.” Id. at 861.
   8          In finding the contractor defense applied, the court made the following critical
   9    findings that cannot be made here: that Honeywell had submitted to the U.S. Army
  10    a “detailed description of the allegedly defective ignition system. Most importantly,
  11    at least for purposes of resolving this appeal, Honeywell's specifications explicitly
  12    state: ‘Continuous duty ignition capability is not provided.’” Id. Only because of
  13    this precise parameter, expressly included in the Chinook’s specification, did the
  14    court conclude, “Hence, the specifications explicitly identify the ‘design of the
  15    particular feature at issue’ and expressly observe that feature's absence.” Id. (quoting
  16    Snell, 107 F.3d at 747).
  17          Here, the specifications for the CH-53E never “explicitly identify” the
  18    configuration of the landing gear wiring harness, the UM, or the safety interlock
  19    system applicable to those components. They certainly never “observe the absence”
  20    of an interlock capable of preventing a short-induced retraction. In order for Getz to
  21    apply in Sikorsky’s favor, Sikorsky would need to show some specification in which
  22    the government commanded the functional equivalent of, “Thou shalt not have a
  23    safety interlock downstream of the control panel,” or “Thou shalt put the up-
  24    command valve directly underneath the down-command valve on the hydraulic
  25    utility module.” However, these key, fatal features were never disclosed to, and
  26    therefore never considered by, the government. Therefore, at no time did the
  27

  28
                                                     11
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   1    “specifications describe, in reasonable detail, the design feature alleged to be
   2    defective.” Id. Therefore, Snell bars the application of Sikorsky’s defense.
   3            Another thoroughly illustrative case, expressly distinguished by Snell, is
   4    Oliver v. Oshkosh Truck Corp., where the Court of Appeal explained:
   5            The record is clear…that the various stages of Marine Corps approval
                exceeded mere rubber stamping of Oshkosh's work. …The Marine Corps
   6
                considered—and rejected—a number of design modifications…. This is not
   7            a case where the government simply accepted, without substantive review or
   8
                evaluation, the contractor's exercise of discretion in meeting a given
                performance standard. …The record in this case supports the district court's
   9            conclusion that, given the Marine Corps' involvement in the design process
  10
                and its substantive input, the configuration of the fuel and exhaust systems
                amounts to the type of deliberate trade-off between military mission
  11            requirements and safety concerns that is at the heart of the government
  12
                contractor defense.

  13    96 F.3d 992, 999 (7th Cir. 1996)(emphasis added). Here, there was never any “back-
  14    and-forth” concerning how the landing gear wiring harness would be configured.
  15    There is no evidence that the Navy was ever even provided a drawing of the utility
  16    hydraulic module before production CH-53Es were delivered, and there is certainly
  17    no evidence of the Navy ever giving substantive input on the configuration of the
  18    wiring harness thereafter. (Lawrence Decl., paras. 10, 12 & 13.) Even if Sikorsky
  19    were to argue, for instance, that “manifolding” the hydraulic functions helped them
  20    achieve the performance envelope desired by the Navy, this would not change the
  21    fact that the final configuration of the manifold was entirely the product of
  22    Sikorsky’s discretion—the government never even got a peek! (PSOF Nos. 62 &
  23    63.)4
  24            C.    Sikorsky Is Not Insulated from Liability Due to the CH-53E’s
                      “Commonality with the Delta” Because the Delta Was the Product
  25
                      of Sikorsky’s Discretion Alone, and Because the Two Aircraft Are
  26                  Not Common as to the Features at Issue, in Any Event.
  27
        4
         Even assuming hypothetically that Sikorsky had some evidence otherwise, this
  28
        would at most create a triable issue of fact.
                                                   12
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   1           Sikorsky vaguely hints at an argument that the landing gear system overall
   2    was “virtually” dictated by the government, due to the government’s expectation that
   3    the -53E (the “Echo” model) would be functionally similar to the -53D (the “Delta”
   4    model). This novel “derivative immunity” theory is not supported by any precedent,
   5    and is not even advanced outright by Sikorsky, but only implied by Sikorsky’s
   6    occasional asides, such as suggesting, “Pursuant to the requirement that the CH-53E
   7    maintain maximum commonality with the H-53D, the landing gear system,
   8    including interlocks, were the same as the [Delta].” 5 (Memo. Supp. Motion, p. 5:22–
   9    24.)
  10           To the extent Sikorsky does in fact rely on such a theory, in order for it to be
  11    advanced logically, Sikorsky would have to show: 1.) that the government played a
  12    discretionary role in the design and configuration of the components at issue during
  13    the development of the Delta; and 2.) that the design and configuration of the
  14    components at issue were exactly the same in the Echo as in the Delta. Sikorsky
  15    cannot show either premise to be true. As to the first necessary premise, Sikorsky’s
  16    experts have conceded that there is no evidence showing any government discretion
  17    as to the design or configuration of the relevant components in the Delta; therefore,
  18    the Delta’s landing gear wiring design would never have been shielded by any
  19    immunity that it could have conferred onto that of the Echo. As to the second
  20    necessary premise, as far as the relevant components are concerned, the Echo is
  21    materially, demonstrably different from the Delta, in any event, meaning even if the
  22    Delta’s landing gear wiring harness had been immune, the Echo’s would not be.
  23

  24

  25    5
         Sikorsky’s hints at this argument are made all the more cryptic if one attempts to
        refer to their ostensible support for their suppositions: the citation for the quoted
  26
        assertion, Sikorsky’s Statement of Facts No. 30, has no discernible connection to
  27    the claim being made whatsoever, concerning as it does only the use of Kapton in
        the Echo, which is undisputedly a feature unique to the Echo and not carried over
  28
        from any past model.
                                                    13
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   1                 1.    Under Snell’s Controlling Principles, the Delta’s Landing
                           Gear Control System Is Not Immune Because There Is No
   2
                           Evidence, Let Alone Undisputed Evidence, of Government
   3                       Discretion Respecting That System.
   4          If Sikorsky were to rely on the theory that the Echo derived immunity from
   5    the Delta, then this would require simply shifting the Snell analysis of the facts
   6    further back in time, to the development of the Delta. Sikorsky would need to show
   7    “the design feature in question [in this case, the CH-53Delta’s landing gear wiring
   8    harness] was considered by a Government officer, and not merely by the contractor
   9    itself.” Snell, 107 F3d at 746; see also Boyle, 487 U.S. at 512 (explaining immunity
  10    only attaches in cases where the government’s “discretionary function” would
  11    otherwise be frustrated).
  12          Sikorsky’s self-described “spokesman” and retained expert John Wakefield
  13    admitted that he has no knowledge that the government played any role in
  14    determining the ultimate design of the Delta’s landing gear wiring harness, insofar
  15    as any feature relevant to this case is concerned, despite having voluminous
  16    knowledge of the overall process of development and procurement.
  17          Q.     Are you aware of any facts reflecting government participation in the
                     design of the 53D landing gear?
  18

  19          ***
              A.  Way before my time, no.
  20

  21          Q.     Are you aware of any facts supporting government participation in the
                     wiring system of the 53 Delta?
  22

  23          THE WITNESS:· I am not of that, but I am very, very familiar with how the
                  government asked for, procures, designs, builds and provides to the
  24
                  contractor the specifications to build what they want.
  25              The process I am very familiar with. Individual details, I am not.
  26    (Shepardson Decl., Ex. B (Wakefield Depo.), pp. 87:25–88:16.) As plaintiffs’ expert
  27    Col. Bill Lawrence further explains, the government never did play such a role in
  28    determining the ultimate state of the landing gear wiring harness, either in the Delta
                                                    14
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   1    or in the Echo. (Lawrence Decl., para. 6.) Given this wholesale lack of supporting
   2    evidence, Sikorsky cannot possibly satisfy the first prong of the Boyle/Snell test on
   3    any theory, let alone on its novel “derivative immunity” theory.
   4                 2.    The Relevant Features of the Echo Were Not “Carried Over”
                           from the Delta, But Were Newly Designed According to
   5
                           Sikorsky’s Sole Discretion, and Not the Government’s.
   6
               The key component of the CH-53E as far as this lawsuit is concerned is the
   7
        landing gear wiring harness; the most important feature of which is its connection to
   8
        the utility module (“UM”), which is where the Marine avionics investigators
   9
        discovered suspect denuded sections of wire. This key feature was configured
  10
        completely differently in the -53D, and that changed configuration is exactly what
  11
        led to this mishap. In their declarations, Joh Bloomfield and Col. Lawrence point
  12
        out the unmistakable variance between the Landing Gear Control schematics for the
  13
        Delta and the Echo, precisely at the interface with the UM. (Lawrence Decl., paras.
  14
        10 & 11; Bloomfield Decl., paras. 4–6.) In short, the up- and down-command wires
  15
        in the Delta were connected via a single plug (“P499”), whereas in the Echo they
  16
        were separated into two plugs (“P494” for up and “P495” for down), with one plug
  17
        right on top of the other. (Lawrence Exhibits A & B; Shepardson Exhibit E (UM
  18
        photo).) This permitted strands leading to P495 to rub and chafe directly against
  19
        P494. (Shepardson Decl., Ex. H (Wuthrich Report), p. 1 [MIL073203].) This
  20
        particular manner of mechanical chafing, therefore, was a direct function of the
  21
        unique design of the Echo’s UM, and could therefore never be shielded by immunity
  22
        “derived” from immunity that might hypothetically apply to the Delta.
  23
        III.   SIKORSKY CANNOT MEET THE SECOND PRONG OF BOYLE AS
  24           A MATTER OF LAW BECAUSE THERE IS AN ISSUE OF FACT
  25           WHETHER THE WIRING HARNESS WAS DEFECTIVELY
               MANUFACTURED, THEREFORE FAILING TO MEET THE
  26           APPLICABLE SPECIFICATIONS, WHICH IS NEVER IMMUNE.
  27

  28
                                                   15
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   1             In the Boyle/Snell analysis of this case, the second prong need never be
   2    reached because the Navy never made any specifications as to the design feature in
   3    question, and never brought to bear any discretionary function on the landing gear
   4    control system. However, even if the second prong were addressed, Sikorsky cannot
   5    show that it conformed to all applicable specifications. Instead, the landing gear
   6    wiring harness was demonstrably defectively manufactured, independently of
   7    its defective design, and manufacturing defects are never immune. McKay v.
   8    Rockwell Intern. Corp., 704 F.2d 444, 451 (9th Cir. 1983)(Military contractor
   9    immunity “does not relieve suppliers of military equipment of liability for defects in
  10    the manufacture of that equipment. To hold otherwise would remove the incentive
  11    from manufacturers to use all cost-justified means to conform to government
  12    specifications in the manufacture of military equipment.”)
  13             As Sikorsky admits in its filings, “The Detail Specification incorporated
  14    additional required military specification, such as…MIL-W-5088F….” (Memo.
  15    Supp. Motion, p. 5:16–18 (citing Sikorsky Statement of Facts, No. 29.) Yet the
  16    evidence shows—or at least creates a question of fact—that the MIL-W-5088F
  17    standard was not met in the subject aircraft, giving rise to a manufacturing defect.
  18             The Air Mishap Board specifically found that the wires immediately leading
  19    into the UM’s landing gear control valves, both Kapton and Spec-55, were native to
  20    manufacture, and were installed in violation of the build standards established by
  21    MIL-W-5088F. The pertinent passage of the Safety Investigation Report (“SIR”)
  22    reads:
  23             44 - THE NON-KAPTON SECTION OF WIRE RAN FROM THE SPLICE
                 POINT TO THE UP SOLENOID ON THE L[anding] G[ear] C[ontrol]
  24
                 V[alve] LOCATED ON THE UTILITY HYDRAULIC MODULE
  25
                 45 THE KAPTON AND NON KAPTON SEGMENTS WERE SPLICED
  26
                 TOGETHER AND INSTALLED BY SIKORSKY AIRCRAFT
  27             CORPORATION DURING AIRCRAFT MANUFACTURE
  28
                                                    16
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   1          ***
              50 EXCESSIVE SLACK EXISTED IN THE WIRE THAT ALLOWED THE
   2
              POINTS OF EXPOSED WIRE TO COME IN CONTACT WITH THE
   3          UTILITY HYDRAULIC MODULE MOUNT FRAME
   4
              ***
   5          52 THREE POINTS OF EXPOSED WIRE ALL WITHIN 1 INCH OF EACH
   6
              OTHER EXISTED ON PIN B P495 OFTHE LGCV DOWN SOLENOID 8
              INCHES FROM THE PIN B P495 CONNECTOR
   7

   8
        (Shepardson Decl., Ex. A, p. 45 (emphasis added).) Independently, the Marine

   9
        avionics investigators discovered that “the tension of the wires on the Down Control

  10
        were tight and without proper strain relief and pin A of 495 had two wear through

  11
        spots w[h]ere the wires came in contact with the Up Landing gear Control Valve

  12
        Cannon Plug.” (Shepardcon Decl., Ex. H (Wuthrich Report), p. 1.) In other words,

  13
        the “Down” wires were too tight and the “Up” wires were too loose, allowing them

  14
        to chafe directly against each other, and the metal UM assembly. (Shepardson Decl.,

  15
        Ex. G (Coffman Report), pp. 2–4.) The worn sections of wire—on both the Up and

  16
        Down paths—are depicted in the avionics team’s photographs, and they are all on

  17
        Spec-55 “white wire”. (Shepardson Decl., Exs. G (Coffman Report), pp. 2–3; I

  18
        (Bare Wire Photos); & L (Stone Depo.), pp. 78:17–84:4.)

  19          The general military specification for the proper wiring practices for military

  20
        aircraft, applicable to the helicopter in this case, is designated MIL-W-5088F.

  21
        (Wakefield Decl., para. 14, Ex. 11.) Section 3.10.6 of the 5088F specification

  22
        requires that wire be routed to assure reliability and offer protection from (among

  23
        other things) chafing. (Wakefield Decl., Ex. 11, p. 18.) Section 3.10.7 specifically

  24
        provides that “[e]xcess slack shall not be provided in wires.” (Wakefield Decl., Ex.

  25
        11, p. 18.) Section 3.11 (“Protection and support”) demands that wires and harnesses

  26
        be adequately supported to prevent chafing and excessive movement in high-

  27
        vibration areas. (Wakefield Decl., Ex. 11, p. 20.) Section 3.11.4 (“Anti-chafing

  28    provisions”) requires, “Chafing shall be prevented by routing and clamping bundles

                                                   17
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   1    to prevent contact with edges of equipment and structure.” (Wakefield Decl., Ex.
   2    11, p. 22.) Section 3.11.10 requires “Special protection” to wires in the form of extra
   3    insulation, standoff mounting and separation where appropriate. (Wakefield Decl.,
   4    Ex. 11, p. 24.) Section 3.11.7 requires the radius of wire bends to be sufficient to
   5    relieve strain on the wires and connectors. ((Wakefield Decl., Ex. 11, p. 23.) As
   6    both plaintiffs’ experts Lee Coffman and John Bloomfield have explained, the
   7    subject aircraft was manufactured in noncompliance with those requirements, and
   8    this fatal mishap is the result. (Shepardson Decl., Exs. F (Bloomfield Report), para.
   9    23; G (Coffman Report), p. 3; & X (Bloomfield Depo.), pp. 191:22–193:10.)
  10          The findings of the Air Mishap Board in the Safety Investigation Report
  11    (Shepardson Decl., Ex. A), along with the pictures of the woefully chafed Spec-55
  12    wires taken by the avionics investigators (Shepardson Decl., Ex. I), without anything
  13    else, create a more-than-sufficient triable issue of fact to defeat the Boyle defense as
  14    a matter of law. This evidence is only buttressed by the testimony of plaintiffs’
  15    experts, and Sikorsky has not even submitted any evidence, in any form, tending
  16    to establish that the subject aircraft met the military’s specifications set out in
  17    MIL-W-5088F. On the other hand, Plaintiff has evidence of departures from that
  18    specification, and such a defect in manufacture can never be insulated from liability
  19    under military contractor immunity. Therefore, if any party is entitled to summary
  20    judgment on the affirmative military contractor defense, it certainly isn’t Sikorsky.
  21    IV.   SIKORSKY CANNOT MEET THE THIRD PRONG OF BOYLE (TO
              THE EXTENT IT CAN BE INVOKED AT ALL) BECAUSE
  22
              SIKORSKY NEVER WARNED THE NAVY ABOUT THE DANGER
  23          OF INADVERTENT LANDING GEAR RETRACTION DUE TO AN
  24
              ELECTRICAL SHORT.

  25          Sikorsky argues that the third prong of Boyle (that the contractor warned of
  26    any danger that it knew about but the government didn’t) is satisfied by the
  27    government’s long-standing knowledge of the “risks relating to electrical wire
  28    degradation.” It is unclear why Sikorsky brings up this factor at all, since plaintiff’s
                                                     18
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   1    claims are not premised in any way on Sikorsky’s knowledge of the risks posed by
   2    the CH-53E’s design. 6 All plaintiffs need to prove at trial is that Sikorsky is strictly
   3    liable for the manufacturing defect in the landing gear wiring harness (under CACI
   4    1201 & 1202) and strictly liable for the design defects under the consumer-
   5    expectation and risk-benefit-tests, neither of which require knowledge on the
   6    manufacturer’s part (under CACI 1203 & 1204). It would therefore again seem that
   7    Sikorsky raises this factor only due to its mistaken belief that plaintiff intends to
   8    criticize Sikorsky at trial for using Kapton, despite the government’s knowledge of
   9    its dangerous propensities. Because plaintiff does not fault Sikorsky for using
  10    Kapton—or Kapton itself for that matter—the third prong of Boyle does not come
  11    into play. 7
  12           However, if it is true that Sikorsky knew about the tendency of the landing
  13    gear on the CH-53E to retract randomly, there is certainly no evidence they ever
  14

  15
        6
          In fact, it stands to reason that Sikorsky did not appreciate the danger posed by
  16
        this particular risk until it revealed itself in the 2005 New River mishap.
  17    Sikorsky’s own retained expert James Knox even takes the position that the
        inadvertent landing gear retraction was not foreseeable. (Shepardson Decl., Ex. N
  18
        (Knox Report), p. 70, Opinion No. 9.)
  19    7
          Sikorsky makes an allusion to the 2005 New River mishap, seeming to imply that
        the Navy “ratified” the design defects in the CH-53E in 2009, by acknowledging
  20
        the risk revealed by the 2005 inadvertent-retraction mishap. This would be a
  21    radical expansion of the already-broad immunity conferred by Boyle, and would be
        unsupported by any authority. Sikorsky cites only Harduvel v. General Dynamics
  22
        Corp., where the court observed in 1989 that the Air Force was still purchasing the
  23    F-16 as a primary combat fighter, despite acquiring full knowledge by 1979 that
        the aircraft suffered from a generalized “chafing problem.” 878 F.2d 1311, 1318
  24
        (11th Cir. 1989). However, Harduvel’s reasoning is inapposite here because the
  25    Navy had already ceased purchasing CH-53Es in 1999, long before the landing
        gear wiring defect reared its lethal head in 2005. (Wakefield Decl., Ex. 8.)
  26
        Therefore, Sikorsky’s position is essentially that they were absolved of all
  27    responsibility for the CH-53E’s defects the moment they took their first victim, if
        the Navy did not scrap the entire fleet immediately. Such a “rule” is not only
  28
        unjustified under Boyle and Snell, but is facially absurd.
                                                     19
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   1    warned the government of that. In fact, Mr. Wakefield explained that the Navy relies
   2    on Sikorsky to furnish the “engineering data” that the Navy turns into the operations
   3    and maintenance manuals employed by the Navy.              (Shepardson Decl., Ex. B
   4    (Wakefield Depo.), p. 137:2–19.)        Yet Wakefield outright denied having any
   5    evidence that Sikorsky ever provided “engineering data” to the Navy disclosing a
   6    risk that an electrical short might cause the landing gear to retract uncommanded.
   7    (Shepardson Decl., Ex. B (Wakefield Depo.), pp. 137:20–138:17.) Therefore, if the
   8    third prong of the Boyle test were applicable, Sikorsky would be unable to satisfy it.
   9    V.    SIKORSKY’S GRAB-BAG OF ALTERNATIVE ARGUMENTS
              CONTAINS NO GROUNDS FOR DISPOSING OF THIS CASE.
  10

  11          A.     The Political Question Doctrine Is Not Implicated Because Kapton
  12
                     Is Not Relevant to Plaintiffs’ Theories of Liability.

  13          Sikorsky tacks on an argument that “plaintiffs’ claims are not justiciable per
  14    the Political Question Doctrine” because this case might “require the Court to
  15    examine military judgments and decisions, including Navy decisions as to
  16    proceeding with production…using Kapton…the various measures considered and
  17    initiated by the Navy to replace Kapton…the adequacy of warnings and training of
  18    servicemen who were exposed to the hazards of Kapton wiring [and] decisions on
  19    how best to allocate limited funding to address the problem.” (Memo. Supp. Motion,
  20    p. 18:15–22.) This entire argument is a house made of straw, of course, because
  21    plaintiff’s claims have nothing to do with Kapton, and therefore might never
  22    implicate these supposedly political questions.
  23          B.     The Navy’s Kapton Remediation Policy Was Not a Cause, Let
  24
                     Alone a Superceding Cause, of the Accident.

  25          As with Sikorsky’s asserted “Political Question” argument, the “Superceding
  26    Cause” Argument is aimed squarely at their favorite straw target, Kapton. As
  27    plaintiffs’ evidence shows in abundance, there is at least a triable issue of fact as to
  28
                                                     20
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   1    whether Kapton had anything at all to do with this mishap, so the “Navy’s failure
   2    to resolve the known Kapton wiring problem” cannot dispose of the case as a matter
   3    of law.
   4             C.    Sikorsky’s Sophisticated User Defense Raises, at Most, a Disputed
                       Issue of Fact on Just One of Plaintiffs’ Theories, Which Could
   5
                       Never Justify Total Dismissal.
   6
                 Sikorsky attacks plaintiffs’ failure-to-warn theory based on the testimony of
   7
        just one Marine, Gunnery Sergeant Wilcox, who testified that he “instructed” the
   8
        decedent not to “force” a “stuck pin.” (Sikorsky SOF No. 5.) This testimony is
   9
        contradicted, however, by an enormous amount of evidence that before the accident,
  10
        no Marine was ever formally trained on that issue (PSOF No. 54), that no non-crew
  11
        chiefs were ever trained on that issue 8 (PSOF No. 57), and that none of the
  12
        decedent’s peers who were on active duty with him on the day of the accident were
  13
        ever taught or made aware of any such issue. (PSOF No. 58.) This wealth of
  14
        evidence seemingly disproving any “sophisticated user” defense, of course, is only
  15
        corroboration of the irresistible inference from the very occurrence of the fatal
  16
        mishap—that SSgt. Fontalvo never heard and did not know that a “stuck pin” meant
  17
        that the landing gear was trying to retract on its own, and therefore posed a mortal
  18
        threat. This “knowledge gap,” acknowledged by all the investigating officers, is
  19
        exactly why Sikorsky should have included conveyed some express warning to the
  20
        government that such a danger existed. However, they did not.
  21
                 Prior to the mishap giving rise to this action, the official design purpose of the
  22
        landing gear safety pin was only “for securing each landing gear in the down
  23
        position, to prevent collapse during ground maintenance.” (PSOF No. 52.) This
  24
        gives no suggestion that anyone in the military ever contemplated that a retraction
  25
        might occur due to an electrical short alone. Even Sikorsky’s own expert Jim Knox
  26
        opines that this mishap was not foreseeable before it happened. (PSOF No. 59.) If
  27

  28    8
            The decedent was not a crew chief. (Pl’s SOF No. 53.)
                                                       21
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   1    it is true that Sikorsky did possess some knowledge of this potentiality, then it had a
   2    corresponding duty to pass on that knowledge in the form of “engineering data” that
   3    the Navy relied on to prepare its training and maintenance manuals. (PSOF No. 66.)
   4    However, Sikorsky’s expert John Wakefield admitted that there is no evidence that
   5    such a warning was ever conveyed. 9         (PSOF No. 67.)       In light of all this
   6    countervailing evidence, Sikorsky cannot prove its limited “Sophisticated User
   7    Defense” as a matter of law.
   8           D.    Tanika Has Standing Because There Is (at a Minimum) a Question
                     of Fact That She Depended on the Decedent for More Than Half of
   9
                     Her “Necessities of Life.”
  10
               Finally, Sikorsky attempts to dismiss the Wrongful Death claim of Tanika
  11
        Fontalvo lacks standing under C.C.P. § 377.60(c) as a matter of law, even though
  12
        her mother testified that the decedent contributed about 60% of Tanika’s support
  13
        to the household.      For this argument, Sikorsky ostensibly relies on Soto v.
  14
        BorgWarner Morse TEC Inc., 239 Cal.App.4th 165 (2015). However, the central
  15
        principle of Soto is that standing under 377.60(c) must be determined on a “case-by-
  16
        case” basis, and the decision there turned on an extraordinarily unusual set of facts,
  17
        none of which applies here.
  18
                     1.     There Is Evidence That the Decedent Provided 60% of
  19                        Tanika’s Support, Well Above the Threshold for Standing
  20                        under § 377.60(c).
  21           Financial dependence generally presents a question of fact, which “should be

  22    determined on a case-by-case basis.” Chavez v. Carpenter, 91 Cal.App.4th 1433,

  23    1445 (2001). Here, there is ample evidence, in the form of testimony and financial

  24    documents, that SSgt. Fontalvo provided more than half of Tanika’s financial

  25    support. The plaintiffs’ mother has testified that the decedent provided 60% of

  26    Tanika’s support: he paid half the rent for the household, paid outright for appliances

  27
        9
         See Section IV. above, regarding Sikorsky’s failure to meet the overlapping third
  28
        prong of the Boyle test.
                                                    22
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   1    like the clothes washer and dryer, paid for her braces, and shared in the costs of her
   2    clothes and food. (Shepardson Decl., Ex. Y (Amador Depo.) pp. 158:14 –159:23,
   3    160:17–163:12.) Tashina testified specifically that the decedent paid approximately
   4    60% of these expenses for Tanika for the entire time they cohabitated (more than
   5    three years). (Shepardson Decl., Ex. Y (Amador Depo.) pp. 81:17–82:2.) This is in
   6    keeping with the fact the decedent made slightly more money than Tashina did, and
   7    they both did their best to contribute their soldiers’ salaries to the household. At a
   8    bare minimum, this evidence creates a triable issue with respect to that fact, making
   9    summary judgment unavailable to Sikorsky.
  10                  2.    Decedent Contributed Support for 60% of Tanika’s
                            “Necessities of Life.”
  11
                Sikorsky acknowledges this evidence, yet nonetheless argues Tanika should
  12
        be thrown out of court based on the holding of Soto, supra. 10 Soto involved a minor,
  13
        both of whose parents were alive and well, as well as gainfully employed, but who
  14
        nonetheless brought a Wrongful Death suit under C.C.P. § 377.60(c) after the death
  15
        of his great-grandfather. The court explained that the young family had decided to
  16
        take up residence with the doting great-grandfather before his death, and that the
  17
        decedent had proceeded generously to “spoil” the minor boy and his parents,
  18
        forgiving their rent and loans, and occasionally buying gifts for the minor. 239
  19
        Cal.App.4th at 178–79. The trial court granted a nonsuit after full development of
  20

  21
        10
          In making its ruling in Soto, the California Court of Appeal acknowledged that
  22
        there was no controlling case law analyzing § 377.60(c) at that time. Likewise, no
  23    appellate case law has been published since. The Eastern District of California
        recently applied the clause, but in that case no material dispute was presented as to
  24
        whether the claimant cohabitated with or was supported by the decedent. Johnson
  25    v. City of Vallejo (E.D. Cal., July 7, 2015, No. 213CV01072JAMKJN) 2015 WL
        11233190, at *1; similarly, in Smallwood v. American Trading & Transp. Co.
  26
        (N.D. Cal. 1994), the claimants “conceded that [decedent] did not provide one-half
  27    or more of the children's financial support.”
        868 F.Supp. 280, 283, decision supplemented (N.D. Cal., Dec. 30, 1994, No. C-92-
  28
        0869 MHP) 1994 WL 735929.
                                                    23
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   1    the evidence at trial, finding that because the great-grandfather’s largesse on the boy
   2    was superfluous, he could not make a claim under the Wrongful Death Statute. The
   3    Court of Appeal affirmed, and in doing so stressed the “case-by-case” nature of such
   4    an analysis, and that the evidence viewed in the light most favorable to the claimant.
   5    Id. at 189 (citing Chavez, supra, 91 Cal.App.4th at 1447–48).
   6          That case could not be more dissimilar to this one. The Soto court expressly
   7    based its decision on its finding that no reasonable jury could conclude that the great-
   8    grandson relied on the decedent for “one half or more of the financial support for his
   9    necessaries of life.” Id. at 190. It defined “necessaries of life” as “things, such as
  10    shelter, clothing, food and medical treatment, which one cannot and should not do
  11    without.” Id. at 189 (quoting Perry v. Medina, 192 Cal.App.3d 603, 610 (1987).
  12    These, of course, are the very things that SSGt. Fontalvo provided for Tanika here.
  13          SSgt. Fontalvo was not just a “moneybags” remote relative giving sporadic
  14    gifts to Tanika. He was the only “father” Tanika had for the last three years of his
  15    life. Rather than spoiling Tanika with “niceties,” as did the great-grandfather in
  16    Soto, the decedent here provided 60% of Tanika’s “necessities of life”: shelter,
  17    essential appliances, her braces, and her clothes and food. (Shepardson Decl., Ex.
  18    Y (Amador Depo.), pp. 158:14 –159:23, 160:17–163:12.)
  19          This humble, selfless sharing of resources is what made this four-person
  20    family work and function, and what gave Tanika the comfort and security of having
  21    two parents. This is more than adequate to permit a trier of fact reasonably to
  22    conclude that the decedent provided something over half of Tanika’s support.
  23    Sikorsky’s motion is premised on the notion that they have evidence to refute this
  24    testimony. That does no entitle them to summary judgment. It entitles both parties
  25    to a trial to resolve the disputed evidence. To preclude Tanika a trial would thwart
  26    the policy that led the legislature to enact § 377.60(c), which is to provide a claim to
  27    a child whose primary breadwinner was not her biological parent.
  28
                                                     24
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   1                  3.     The Decedent in Soto Was Three Generations Removed from
                             the Minor Claimant whereas SSgt. Fontalvo was Tanika’s
   2
                             Direct Parental Provider.
   3
                The plaintiffs’ circumstances here are crucially distinct from the Soto
   4
        scenario, where the minor in question had two living parents capable of supporting
   5
        him, but brought a claim based on the death of his great-grandfather, an ancestor
   6
        three generations removed. Here, Tanika lost her direct father figure. By arguing
   7
        that Tanika’s material comforts were “good enough” before SSgt. Fontalvo ever
   8
        entered her life, Sikorsky is asking the Court to extend Soto to all situations where
   9
        there exists any surviving parent (or other benefactor) capable of providing one-half
  10
        of the would-be claimant’s minimum means of sustenance. This extension is
  11
        unjustified by Soto’s reasoning, and would be tantamount to a rule of law that all
  12
        children are just as well off with a single parent than with two. 11          Such a
  13
        reprehensible, callous and inhuman philosophy should not govern the policy behind
  14
        California law.
  15
                                           CONCLUSION
  16
                For the foregoing reasons, the Motion should be denied in its entirety.
  17

  18

  19                                     /s/ Marshall J. Shepardson, Esq.
  20                                     Attorney for Plaintiffs
                                         E:Mail: mshepardson@grassinilaw.com
  21

  22

  23

  24

  25

  26
         Sikorsky makes no effort to sugar-coat this. They outright rely on the brutal
        11


  27    pronouncement that “Ms. Amador could have continued to be the sole financial
        provider of T.L. as she was prior to December 2007.” (Memo. Supp. Motion, p.
  28
        24:8–9.)
                                                    25
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